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 Dalicl Risis,P々 ,S′
 19 Fordham Rd
 Livingston,INJ 07039
 307‐ 388‐ 9165
 daniel@mibObank.COm




  DANIEL M.RISIS
                                               DISTRICT COURT OF NEW JERSEY
                             PLAINTIFFS,       ESSEX COUNTY
                                               DOCKET NO:23К v‐ 03429‐ ES‐ JRA
                        V

  MARGARITA RISIS,MARK RISIS,                    CERTIFICAT10N OF DANIEL RISIS
  PB FINANCING,Et al.…                              IN SUPPORT OFIMIOT10N T0
                                                   VACバ TE JUDGMENT AGAINST
  DEFENDANTS                                                DA〕 ΠEL RISIS




 I, Daniel M. Risis, certiry that the foregoing is a true statement;



    1. My name is Daniel M. Risis and I am the Plaintiff in the above-mentioned
        Inatten


    2. The judgment against me personally by PB Financing should be vacated
        immediately due to both the new information that has come to light, and old
        information that was blatantly ignored by counsel and the courts.

    3. I have never been an owner or shareholder of Daniel Markus Inc. dba Perfect
        Pawn.


    4. The owner of Daniel Markus Inc dba Perfect Pawn is Margarita Risis.


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    5. I have provided proof of this via Erdibits A - D

    6. Margarita Risis' last known address is 115 N. Livingston Ave, Livingston NJ
       07039, she sold her home for a minimum net profit of at least 5300,000 in
       cash and has taken flight with all the profit from this asset.


    7. It is not known at this time where her current residence is located.

    8. Margarita Risis signed for the loan from PB Financing on behalf of HER
       company Daniel Markus Inc. dba Perfect Pawn.

    9. l, Daniel Risis, only signed the loan as an agent of the company Daniel Markus
       Inc. dba Perfect Pawn, under the guise that I would not only still be employed
       by them but that one day I would be the owner of the company, as promised
       by my mother, Margarita Risis.


    10. I was fired from the company in November 2021 when Margarita Risis stole
       appx 6 million dollars from her own business and absconded.

    11. Margarita Risis and Daniel Markus Inc dba Perfect Pawn are responsible for
       the loan from PB Financing, not Daniel Risis.

    12. PB Financing has not once attempted to retrieve these funds from Margarita
       Risis or Daniel Markus Inc dba Perfect Pawn, instead they have filed
       continuous and vexatious litigation against me and my estate.

    13. PB Financing has not proved that they have attempted to collect this debt
       from Margarita Risis at all. They simply said "we can't find her".

    14. Is that good enough for a Judge? "We cant find her" is an acceptable answer
       for this court to simply move onto me?

    15. PB Financing has not once attempted to find, collect or move forward in a
       case against Margarita Risis and/or Daniel Markus Inc dba Perfect Pawn


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       instead they have vowed to attack me solely and personally since I have
       equity in real estate and other assets.

    16. Cash Cow Storage is not affiliated with Daniel Markus Inc or Margarita Risis
       in any way.

    17. Cash Cow Storage is in no way related to this case or any of the matters
       herein. This is an administrative error on the part of someone else that needs
       to be corrected.

    18. I am not represented by counsel and the attorneys for PB Financing, Stark
       and Stark, Timothy Duggan, are relentless in their quest to destroy me
       professionally and personally.

    19. Timothy Duggan has a personal vendetta against me, Daniel Risis, and his
       efforts to collect the debt from me, and me alone is unethical and grounds
       for disciplinary action and sanctions.

    20.1 am a victim of a carefully orchestrated fraud schedule devised by my
       mother Margarita Risis in conjunction with my cousin David Bogolomny, and
       my mothers boyfriend Elhan, who has been to prison for the very same fraud
       that I am a victim to.

    21. I have proof that I provided to the Colorado courts that I not only tried to
       explain this, and show proof of such that my requests and claims went
       igrored in favor of siding with attorney's.

    22.1 have proof that I attempted to vacate this judgment in Colorado but was
       rebuffed and unable to complete this since I do not live in Colorado or know
       how the court system in that state works. Exhlbit E

    23.Had my mother not stolen all the assets from Daniel Markus Inc dba Perfect
       Pawn and went into hiding I could have adjudicated the matter properly in
       the Colorado court system and we would not be here today.




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    24. At the time of the actual trial I was living in New Jersey and the attorneys
       that represented the matter in Colorado demanded a payment days before
       trial or they said they wouldn t try the case.

    25. The Abrams law firm tried to extort me days before the case went to trial,
       they ignored my Dr's orders, and they tried the case without anyone in the
       company present.

    26.They tried the case without proper preparation or information and by virtue
       of lack of discovery and the correct information the case was lost.


    27. At the time of the actual trial I provided the attorneys and the court with a
       letter from my physician stating that I was under Doctors orders to take time
       away from work since the mental and physical toll of my mothers theft and
       betrayal of me was too much to bear. This was igrrored completely.

    28. Mental health is a crisis in America, and the world, and the United States
       Legal system ignores it.


    29. Mental health is a real issue and I asked for not only time but consideration
       due to my mental health, and it was ignored.


    30.As evidenced by the resolution with the PPP loan, I am never, nor was I ever
       liable for any Daniel Markus Inc dba Perfect Pawn debts which my mother
       asked me to co-sign as an AGENT on behalf of the company, not me
       personally.

    31. A Federal Court order was ignored by the US Tfustee. Exhibit F.


    32. This case and this motion come down to one very simple fact, that I have
       never been able to represent myself in a personal capacity even one time in
       any court in order to defend myself against the various judgments that have
       been placed against me due to my mothers actions. Had I ever had a chance
       to ever represent myself personally, I would never have been saddled with



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       these judgments, since I only took them out in conjunction with my
       professional capacity.

    33. Consumer Frard; Holding financial instit ttions accountable. To help build a fairer
       New Jersey, DCA protec,ts New Jer*y res,Uents from ansumer fraud and abuses
       ammifted by the biggest financial institutions in the wold as well as smaller companies
       offering novel and finge f,nancial ptducts. Recent arcomplishments include a $575
       million settlement with Wells Faryo in December 2018, which rcsulted in neady $17
       million in payments to New Jersey, to resolve allegations the company engaged in a
       variety of sales, lending, and other imp$per bus,hess practrbe s for more than a decade.
       I, Daniel M. Risis did NOT personally take out this loan, I Daniel M. Risis did
       not USE any of the funds from this loan for my personal use.

    34. It is important that the court re-read the line above, I Daniel M. Risis did not
       take this out as a personal loan, I signed this document in behest of my
       mother Margarita Risis for HER business, Daniel Markus Inc dba Perfect
       Pawn.


    35.Timothy Duggan, Stack and Stack and PB Financing have maliciously gone
       against me, Daniel M. Risis and my personal estate and professional entities
       that have absolutely nothing to do with Margarita Risis and Daniel Markus
       Inc. dba Perfect Pawn.


    36.Timothy Duggan, Stack and Stack and PB Financing, have trolled my personal
       and professional life to gain a foothold into what they believe they can "take
       from me" and have not gone about attempting to collect the actual debt from
       the rightful owner and responsible party for this debt Margarita Risis.

    37. Timothy Duggan, Stack and Stack and PB Financing have continued to harass
       me, my businesses and my family by way of vexatious litigation by joining
       litigation(s) that do not pertain to this case, this business or this debt.

    38.1 want the court to be very clear that I am at no time I am not trying to
       abscond with anyone's legitimate money and claims, if after a proper court
       trial I am held personally liable for debts that I never received the money for,



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          nor am I legally liable for, then YES I will take responsibility for that but I
          cannot continue to go down this road and have not had my day in court.

    39.8y virtue of the fact tlnt Daniel did not get the money nor is he a owner of
       the company he is ipsofacto not responsible for the money that was taken.



 I certiff that the following statements by me are true and correct to the best of my
 knowledge.




                                                        Daniel M.Risis

 Dated:
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                      EXHIBIT A
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MARCARITA RISIS                                                                                         Re:DA｀ 1'L MARヽ tS、 1ヽ く     .




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                       EXHIBIT B
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 Unlawful use of name "Poilect Pawn"
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       TOヽ MHOM:T MAγ              CONCERN
       I represent Marganta Rists, owner and Presid€nt of Danbl Markus. lnc
       It has come to our anentron that the narne "Perfect Pawn" rs belng used unlarirlly and wrthout permission to transact
       business rn or about 2?1 Washrngton Slreet Newark New iersey and also at 1275 Roule 23 Wayne llew Je,set

       tty clent demands that any ind,vrduals or entities engagrqg rn sudt unlawful aclivity imnEdEtely cease and desrst
       Thts conc,uct rs unauthorized and unla$'tul and Ms Risis demands $al you slop imtiediately.

       Thank you

       PETER C.CAPLAN
       ATT(DRNEY AT LAW
       130 POMPTON AVENUE
       VERONA NEl〜 ′JEPSE｀ ′0'344
       TEL 973 57,1868
       CELL 973 477 8984
       FAX 973 571 1869




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                       EXHIBIT C
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         Kearny, New Jersey C-/302
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         LivlngsLon, New Jersey 07039
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  0796{). l.icensc Rcli'rcnce \o. l50l779: (5t ,l{l t}loomllcld .\rcnue \lontclair. \e\ Jcrscl

  ()70{1. l-iccnsc Rc{crcncc No. ld0Il7l: (6) 211 \\'ashington Slrccl \ier,rarl. \cu Jcrsel 07101.

  Liccnsc Refercncc \o. 1200822: (7) 869 Kearn\ Arenue Kearnr. \err -lerser (17()-11. liccn:'c

  Rcitrc:,ccヽ 0. :(x)o:61:(8)1275 R()utc 23 '丼 a)nc̲ヽ c、 ′Jcrsc)()7470.Liccn、 c Rcitrcncc｀ヽ(1
                                                            ︐
                                                                一
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  l40ll70: and (9) -100 Route 17 Nonh Paramus. Ncr,r Jersr.r 07651. Licensc Referencc l\o.

  I 501 7t0: and


         WHEREAS. Respondent *as required to lilc its annual report for thc lcar ending irr

  Dcccmber 31. l0l9 ("?019 annual rcFxrrt") h! August l. 1020: and

         U'HERliAS. Respondent lailcd to file thc 20l9annual reFxrn b) Augusr l.l()10:and

         WHEREAS. on September 23. 2020. the Department issued an Ordcr and Noticc ol'

  Violation. .{.R10-1000161 ("Noticc oI Violatirrn") ro Respondcnt lor its failurr"' trr lile thc ]019

  annual repon b1 the August l. 2020 dcadline: and

         WHERl:AS. on Septembcr 29. 2020. the l)cpartment mailed the Notice ol'Vir:latiorr to

  Res;xrndent b1 ccnitled mail. retum receipt requestcd: and

         U HEREAS, on October l. 2020, the cerrilled mail was dclivcred to Rcsgrndcnt; and

         \\ HERI:r\S. thc \otice ot'Violation adr isr'd Respondenl lhat its 2019 annual repon had

  not br'cn filed b1 thc August l. 2020 deadline: and

         WIIERIAS. thc Notice of Violation also advised ResFrndent that in thc etcnt thc 2(]19

  annual rcpon or requcsr lirr a hcaring \rerB not filcd b1 Februarl l. 1021. thcn Rcspondcnt s

  pau nbroking liccnses uould be rel oked effectivc l'ehruary' 2, 202 I . and a cir il moncury pcnaltl

  ol $ I 5.000.00 r.rould r,.L assessed against Respondent: and

          \\'HEREAS. Respondent failcd to file the 2019 annual rcport b) Februarl l. l0l l: und

          ll l{ERIIAS. as a rcsult of'its lhilurc to llle the 2019 annual rcpon. RcsFrndent's ninc
  pasnhrokinc licenscs sere rer okr".d on Februarl l. l0l l: and

          U HERI-.AS. on March 19. l02l . the Dep.nmcnt sent a letter to Respondent advising ol'

  thc rcrrrkcd licenses ("rcvocation lclter") and requiring that Resrxrndent relurn ils licenses trr the

  [)cpanment and pa1 a S 1i.000.00 pcnaltl: and

          rrl'tlERl:.,\S. on April 5.2021. Respondcnt ljled the 2019 annual repon: and




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           \\.lll:REAS. to date. Respon<tcnt has n(,r paid the $l 5.000.00 penalrl : and

          Wlll:REAS. despite being unlicensed since February 2.2021. Respondenr conrinues
                                                                                                     ro

  usc the *ord "paun" in its name: and

          Wllt:RllAS. addirionally. despite being unlicensed sincc February 2.2031. Rcspondenr

  continues ro adrenir itscll'to the puhlic as a pawnbroker: and

          \f lll;RtrAS. additionally. dcspire being unliccnsed since Februar1.2.202t, Rcspondent

  maintains thc ib‖ 。、int          sebsite httrr:: Farr rrparr n.rorn - on which Rcspondent adveniscs
  itsell'as a pa$ n outlel: tnd

          U'lllrRl-.AS b1 using the *ord "pa*n" in its name and b) advenising itsel,'l() thc public

  as a paunhnrker. Respondent r iolatcd N.J.S.A. {5:ll-2: and

          N()ヽ V.1■ lERE:=()RE.lT IS(in this i̲̲day                     of [)ccember   2021.

          ORI)l:RI:D that. pursuant to N.J.S.A. {5:ll-2 and \.J.S.A. l7: l-15(). Res;xrndcnt shall

  immediatcly' ccase and desist from an) and 8ll srrvices rcquiring a pawnbrokcr licen:e: and

          ll lS l:URTHI:R ORDERF-l) that. puruuanr to N.J.S.A. 45:22-l and \i.J.S..'\. I 7: l- i 5(.i).
  Rcspondcnt shall immediatcly cessc and desist lhrm using thc word "pa'*n" or "pa\\nhroker" in

  its name: and

          ll' lS IjURTHI-:R ORDERI':l) that, pursuant to N.J.S.A. 45:22-2 and N.J.S.A. I 7: l- l5(i).
  Rcsgxrndent shall immcdiatel) ceasc and desist liom using thc rrord "pasn" or "pasnhroker" in

  an1 of its advcnisements or communications to the public. including an]" signs outsidc ol'its

  business premises. its tclcphone. email. rrireless and mohile s\stems. and an) ol'its sebsitcs.

  including lr         \\n   :iヽ   ヽ   C   ):1ヽ   . as wcll as an1' mcial media: and

          II lS l-LlRl'll]..R ()RDERIII) rhat. a failure to comph r,r ith this Order ma1 subicet
  Rcspondent t() ,urther pnreedings or legal actirln: and




                                                                 4
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          lT 15 FURTHER ORDERED thst Rcspondent has thc right to move to vacatc this order

 to Cease and Desisr. Any modon !o vacatc this     &r     to Ceasc and Desist must be in writing rnd

  filed with the Commissioner *'ithin lwentl (20) days of serr ice of this Order to Cease and Desist

  by dctivery to Pallctle Sitrblies-Flagg. OCF lnvcstigations Unit. frepartment of Banking and

  insurancc.P.0.Box 040.Tttnton.Ne■ Jcr、 )08625 or b)′ elcctronic mail to oaulcttc..'rhhlie:-

  tlaqs a tkrhi.nj.qor   . A copy of the motion shall also tx sent to Dc?uty A$om€y Ccncral (laren
  Cazaryan at P.O. Box I 17. Trenton. New Jersey 0t625 or by elcclronic mail to

  gtlt!:!!-:ryi!!l-r!u(-Lr\L!.isi!s3c!.




                                                           .r)fu-z'<''
                                                           -.  (


                                                          Marlene Caride
                                                          Commissioner
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                       EXHIBIT D
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                                   SETTLEMENT AGREEMENT
         This Senlement Agre,ement ("Agrecment") is entered into among the IJnitcd Stales of

 America. acting through the United Sutes Depanment of Justice and on behalf'ol'the

 tlnited Sutes Small Business Administration (collectivell. the "United Statcs"). Daniel \4arkus.

 lnc. t"DVI"). llargarita Risis ("Risis"). and Brlan Quesenberq ("Quescnbcrn " or"Relator"l

 (collcctilell rcl'erred to as'1he Parties") through their authorized repr€sentativcs.

                                               RECITALS

         .{.     DMI is a corporation organized under the laus of Neu'Jersel and locatcd at 869

 Keamr .{renue. Keam1. \J 07032. D\41 opcratc'd multiple paun shops in ).ierr Jersel . Risis is

 [)Vl's sole sharehrrlder.

         B.      On September 12.2020, Br-r'an Quesenberry, proceeding Trrr sc. filcd a qui ram

 acrion in thc UnitL'd States District Court for rhc District of Ne* Jerse) captioned ['nited Stae t

 er ral. Quesenhcrr.r' t'. .lrtistit'Tile. lnc.. Case \o. l0-cv-13070. pursuant to thc ql,i ftr,r,

 pror isions of the Falsc ('laims Act- 3l L.S.C. $ 37i0(b) (the "Cir il Action"1. Rr'lator alleges

 that DMt unla*full1 applied for and received lr,ro loans under lhe Palcheck Protection Program

 ("I'PP") prior to Dccemtrcr .l l. 2020 and falsely ccnilicd. in the submittcd applicationr tor the

  [)PP lt-rans. thut it uould receive onll one PPP loan prior to December -] l. 2010.

         C.       I hc PPP sas esublished puruant to the Coronavirus Aid. Relicl. and Economic

  Sccuritl 1"CAR[]S") Act. Ihe CARES Act. uhich r.r as enacted in March 2020. r,r as designed to

  provide emertency linancial assishnce to millions ol'Americans suffering cconomic effects

 caused bl thc ('OVll)-19 pandemic. One sourcc of relief pmvided by thc ('ARLS Act \+as the

  authorization oI lorgir ablc loans to small busincsses tbr emplo;-ee par nrll and ccnain other

  cxpenses. through the PPP. To obtain a PPP loan. a qualifiing business sas required submit a


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 [)PP loan application. shich is signed hr an authorized reprcscntatirc ofthe busincss. lhc loan

 lpplication rcquires thc business--through its authorized rcprcsentative-to acknou lctlge thc

 pR)r.:ram rulc\ and nrake cenain afllrmari\c cenillcarions rcgarding its eligibilirl ro ohtain thc


 PPP loan. A Pl)l) loirn applicarion musl (LL processed b1 a paniciparing lender. $hich rcr(.i\ !'\ a

 processing ltc liom SBA. Iia loan application is approrcd. thc participaring lendcr tirnds thc

 loan. shich is l(Xlu6 lLuaranteed b1 thc SllA.

             D.       lhc ('nited States contends lhat it has cenain ci\ il claims asainsr [)\ll and Ri:is

 lirr en"a.in,' in thc lirllorr ing conduct. hcrcinatier reltrred to as the "('orered Conduct":

                      Ihc ( nited Sutcs contcnds that. in April 2020. l)Ml, hy and through Riris.
                     suhnrittcd an application lirr a PPP loan to "l.cnder 1." a bank headquancrctl in
                     Sult l,ake Cit1. Utah. ln that application. I)MI. b1 and through Risis. lalsclr stated
                     that "{dlurinc the period ,,.uginning on February 15. l0l0 and endints on
                     l)cccmber -l l. 1020. the Applicant has not and u ill not recei\e anothcr l()an under
                     thc ll'PPl" (hereinalier. thc "False Slalcm!'nl"). Suhscquentlr. [)\ll. hr lnd
                     thrtrugh Risis. entered int() l promissory notc hr rrhich Lender I a!:rcctl t,, icni
                     Sl{1.8+9 to D\l1 pursuant to the PPP (thc "l.cnilcr I PPP Loan"t. and l)\ll
                     rcccircd the Lendcr I PI)l) l.oan proceeds b\ clcctr()nic transf'er.

                      I hc t . nited States funhcr contcnds that. in April :()10. DMl. br :rnd throuuh
                     Ri:is. submitted an application for a PPP kran to "l-ender 2." a banL
                     hcadquanered in \tcl.cln. \'ireinia. ln that application. D\{1. b1 and throurh
                     l(i'is. lalsch stated that "ldlurinu the period bc^ginning on FebruarJ 15. l0l0 and
                     cndine Lln Decembcr -i I . l{110. rhe Applicant has not and u ill not rcccir c another
                     l,rlp u,l,1", the IPl'l'1." Suhrcqucntlr, D\11. hy and through Risis. cntcrcd into a
                     pr()nlissor) note b1 *hich Lcnder 2 agrec'd to lcnd $268.300 to DMI pursuant to
                     thc l'l'l'(the "Lender 2 Pl'l'l.oan-). and DMI rcccivcd the Lendcr I l)PP I oan
                     lirnds br electronic transl'cr.

                       lhc I nited States contcndr that. afier rr'cci\ inr txrth thc Lendcr I l'l'l' I t,;rn
                      llnd: and the Lendcr I l'l'l' [.oan lund:. t)\ll lnos inuh and imfrr(iperl\ rcti]incd
                      thc' lunds obtained liom hrth loans. contrar) t{) thc c\press cenillcalitln\ thrl [)\ll
                      nra<lc. br and through Risis. that DMI rrttuld n()t rccci\e more than ()nc l)l)l) I()rn
                      prior l0 December 3 l. 1020.

             E.     ￨lic t nitcd Statcs c()ntcnd、 that it has ccnain ci、 ii claims against i)ヽ ll● :id Risis

                                                                              ¨
  ￨ミ   ヽ ヽiolatit)n tilc lュ l、 c(｀ lainls rヽ ct.31 tlヽ (1ヽ 3'29‐ 3733(¨ ij〔 ￨へ ).and undcrthc l・ inancial
       「
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 lnstitutions Retbrm. Recorery and F.nlbrrcement Acl of 1989. l2 tl.S.('. :\ l8lia t"FlRRI:A"t.

 predicatcd on violations of l8 tr.S.('. r\ l0lil. l5 U.S.C. $ 6.ls(a). ltl t,.S.('. (r l()01. l8 L .S.C. \

 1.14-1.and lE U.S.C. $ 1144.

         f.      Relator claims enritlemenr to a shsr€ of the proceeds of this Scttlement Agreement

 undcr.ll t..S.C. $ -1710(d).

         lir aroid the dela). unccnainl). inconrenience. and expense of pnrtractcd litisation oithe

 atxrre claims. and in consideration ol'the mutual promiscs and obligations olthis Senlement

 Agreement. the Panies agrce and covenant as lolloss:

                                     TERIVIS AND CONDITIONS

         l.      DMI and Risis. jointll'and severally. shall pay lo the tlnited Sutes 550.000

 ("Settlement Amount") by electronic funds transfer pursuant to writlen instructions to bc

 prrrr idcd h1 thc L'nited Sktcs Anomer's Olllce for thc District of             J!.rse! no later than l{
                                                                          ^te*
 dals aticr the dare of this Agrccment.

         :.      D\'ll agre€s to refrain l'mm reque$ing loan forgireness from SBA lbr the Lender

  I l'PP l-oan and shall extinguish the SBA guarantee on the loan by rrpaying thc Lender I Bank

  PPP l-oan in keeping with the terms of its pmmissorl'note. excepl that DMI shall ful15 rcpa) thc

  loan no latcr than l2 months after the date of this Agrtement.

         3.       In the erent thal [)MI or Risis lbil to complete the pa.vments set lbnh in

  l)aragraphs I or 2 b1 the dates uJxrn rahich thel'arr due. DMI and Risis shall hc in Delault of

 their plrmcnt obligations t"Dclault"1. t.grn Default. the United Sutes uill pmrideDMland

  Risis. thruugh their legal counscl or other rcpres€ntative previousll designarcd b1 DMI and

  Risis. h1 electronic mail a writtcn Notice o1'Default. and DMI and Risis shall have an

  opponunin to cure such Del'ault *ithin lhree business dals fmm the datc thc Notice of Default is


                                                      l
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 \ent b\ counsel f'or thc t;nited States. ll'l)MI and Risis t'ail to cure the Del'ault sithin thrcc

 busincs: dar s f'rom thc datc the \oticc ol'[)cfault is sent h1 rhe L nited Statcs. thc dillerencc

 benr r.'cn thc amount paid h1 l)Vl and Risis under Paragraph I and $50.000 shall becomc


 immcdiutclr due and palable. and intercst on such amount shallaccrue at the rate of l0 perccnt

 per annum. compoundcd daill from thc datc of Default. ln addition" rhc am(runt ofanl Slt \

 guarantce paid in connection uith the l.cndcr I PPP [-oan sholl be trehled and hccome

 immediatell due and parable to the [,nitcd States. and intcr*st on such an]ount shall accruc lt

 the ratc (!l- l0 perccnt pcr annum. com;rrunded daill liom thc date the guar.lntcc is paid b1 5l),.\.

          1.       Lpon c\ccution of this Scttlcmcnt Agreemcnt. DMI and Risis shall enter into a
                                                                                                "fhe
 Cr)nscnt .ludsment uith the ['nited Statcs in thc form auachcd as Auachmcnt A.

 L nitcd States shall not llle the Consent Judgment unless         l)\{l and Risis are in uncured Del'ault as
 definctl atxrve. DMI and Risis agree not l() conlesl anl ollict imposed and n()l to cont!-st an\

 Cons,.'nl Judsmenl and or collection action undenaken hr thc [ ]nited Statcr pursuant t.r thi.

 Paragraph. c'ither adm inistr.rtir el1 or in an\ state or l'ederal coun. excepl on lhc [rounds ul lcluitl

 pa]-mcnt to the United States. At its xrle option. in the ercnt of uncured Dclault as detlncd

 ahtrrc. rhc I nited Stltcs alternativell mar rescind this Agrccment as to DMI or Risis and brinu

 anl cir il ;rnd or administratirc claim. acti()n, or proceeding against Dlltl or Risis lbr the clainrs

 that uould othenrise hc corcred bl thc rcleascs pror ided herein. lithe United States oprs to

 rescind this Asreement in thc erent ol'uncured Default as deflned above. I)Ml or Risis agrccs

  not to plead. arque. ()r()thcruise raist'ln1 delcnses of statutc ol'limitations. laches. e,'toppel i,r

  similar thcories. to anr c ir il or admin istral ive c laims that art (a ) filcd br thc I jnitr'd State s

  aeainst [)\ll or Risis uithin 180 dars ol'*ritten notificalion to DVI and Ri:'is that this

                                                                ｀
  へgrccnlcnt has bccn rcscindcd.and{b)rclatc tく 、thc Co、 cr̀,dl〔 onduct.c、 ccptto the e、 icnt tllc、 c


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 detcnses uere arailable on rhr: panicular date uhen the ('ir il Action refercnced in Rccital

 Paragraph D was flled.

         5.      (bnditioned upon the [.]nited Sutes recciving the pa.vmcnt set lbrth in

 I)aragraph I . the t . n ited Sutes shall pa1 to Relator 53.5{ I .05 b1 electronic funds translbr

 ("Rclator's Shar"-"). \o other relator sharc pa)'ments shall be made under this Agrcement.

         6.      Suhject to the exceptions in Paragraph E (concerning res€rvd claims) belou. and

 upon the United States' receipt of the Senlement Amount. the United States rcleases DMI and

 Risis lrom an1 cir il or administrative monetar) claim the Unhed Sutes has tbr thc ('()\ ered

 (irnduct under thc l'alse Claims Act. ] I t l.S.C. ${ 3 729-3733: the Program F'raud ( ir il

 Rcmcdies.{ct. -iI I .S.C..s5 -1E01-3811: FIRREA. ll t .S.C. s\ lEila: orthe comm('n la\\

 thcories of pal.ment by mistake, unjust enrichment. and fraud.

         7.      Suhject to the exceptions in Paragraph 8 below. and upon the United States'

 rcceipt ofthe Scttlement Amount. Relator. lor himself and lor his heirs. successors. altome\ s.

 agents. and assigns. rcleas+s DMI and Risis from any civil monetaD- claim the Relator has on

 behallof the l-'nited Sutes fbr the Cor cred Conduct under the False Claims Act. .11 [.'.S.C. Sri

  3729.,1733.

         8.      \otu ithstanding the releases uiren in Paragraph 6 of'this Agrecmcnl. ()r an] .)ther

  tcrm of rhis Agrccment. the lbllor,ring claims and rights of the United States are spccilicallr

  reserred and are not released:

                 a.       An1 liabiliq arising underTitlc 26. U.S. Code (lntemal Rerenue Codcl:

                 h.       Anl criminal liabilitv:
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                  c.     Except as explicitl) stated in this Agreement, any administrative liabilitl

                         or enfbrcement right. including the suspension and debarment rights of

                         anr f'ederal agency:

                  d.     An1' liability' to the United Srates (or its agencies) for any.' conduct other

                         than the Covercd Conduct:

                  e.     Any liability based upon obligations crcated b) this Agrccment: and

                  f.     Any liability of individuals. except Margariu Risis.

        9.        Relator and his heirs, successors. anome)s. agents. and assigns shall not ob.iect to

 this Agreement but agree and confirm that this Agreement is fair. adequate. and reasonable under

 all the circumstances, pursuant to 3l U.S.C. $ 3730(cX2XB). Conditioned upon Relator's receipt

 ofthe Relator's Share, Relator and his heirs. successors. anomei-s. agens. and assigns fulll' and

 finalll release. '*aive. and forever discharge the United States, its agencies. officers. agents.

 emplovees. and serlants. from an;- claims arising from the filing of the Civil Action or under

 -ll U.S.C. rs 1710. and from an1'claims to a share of the proceeds of this Agreement andior thc
 Civil Action.

         10. Relator. for himself. and for his heirs. successors, attomeys. agents. and assigns.
 rcleases Risis and DMl. and its DMI's olllcers. agents. and employees. from any liability to

 Relator arisine f'rom the filing of the Civil Action. or under 3l U.S.C. $ 3730(d) for expenscs or

 attome! s' ttes and costs.

         I   l.   DMI and Risis waive and shall nol assert an!'defenses D!\,iI or Risis mat ha\e to

 an1'criminal prosecution or administralive action relating lo the Covered Conduct that ma1 bc

 based in u,hole or in part on a contention that, under the Double Jeopardy Clause in the liilih

  Amendment ofthe Constitution. or under the Excessive Fines Clause in the Eighth Amendment


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 olthe Constitution. this Agreement bars a remedv sought in such criminal proseculion or

 administrative action.

            12. DMI and Risis fulll'and finally release lhe United States. is agencics. ofliccrs.
 agents. employees. and servants, from any claims (including altomeys' fees. costs. and expenses

 ol'cren kind and ho*ever denominated) that DMI or Risis have assened. could harc assened.

 or ma\ asscn in the l'uture against the [,nited States. its agencies. officers. agents. employees.

 and sen'ants. related to the Covered Conduct or the United Sutes' investigation or proseculion

 thereof.

            li.    DVI and Risis fully and finall1 releasc the Relator from anl claims (including

 attomeys' fees. costs. and expenses ofeverl kind and howerer denominated) thal D\41 or Risis

  have assened. could have assertd. or ma) assen in the futurc against the Relator. related to the

 ('overed Conduct and the Relator's investigation and prosecution thereof.

            ll.    a.     t.lnallowable Costs Defined: Allcosts (as defined in the Federal

  ..\cquisition Regulation. 4E C.F.R. g 3 I .20547) incurrcd b1' or on behalf of DMI or Risis. and

  [)MI's present or tbrmer ofTicers. directors. emplolees. shareholders. and agents in conncction

  *ith:

                          (|   )   the maners covered b.," this Agreement:

                          (2)      the United States' audi(s) and civil investigation(s) oflhe matters

                                   covered by this Agreement:

                          (3)      DMI's investigation. defense. and comective actions undenaken in

                                   rcsponsc lo the United States'audil(s) and civil investigation(s) in

                                   connection r.l.ith the matters covered by this Agreement lincluding

                                   a(ome! s' fees):

                                                      7
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                            rJ)    thc negotialion and performance of this Agreement: and

                            (j)    lhe pa)'mcnt DMI makes to the t.inited Sutcs pursuant to this

                                   Agrec'ml'nt and anl pa.v-ments lhal DMI mar- mnke to Relalor.

                                   including costs and anomey's l'ees.

  are unallouable costs for government contracting purposes (hcreinatier rcltrrcd to as

  "t lnallouable Costs").

                   b.       Future 'freatment of t:nallorrable Costs: tlnallouahlc Costs rrill be

  scparalch determined and accountc.d l'or b1 DMI and Risis. and DMI and Risis shall not charoc

  such [. nallo*able Costs directll or indircctll to an] conract with the [,tnited States.

                   c.       Trcatment of lJnallowahle Costs Prcviously Submitted for Payment:

  \tr ithin 90 dals of the Effective Datc of this Agrcement. DMt and Risis shall identifl and rcpa1


  h1 adjustmc'nt to future claims l'or palmcnt or othen ise anr Unallo*ahlc Costs included in

  pat mcnts previousll sought b-'- I)Ml and Risis or an1'of its subsidiarics or alllliates liom thc

  I jnited States. DMI and Risis agree that the L;nited States. at a minimum. shall he entitled to


  rccoup l'rom DMI and Risis any.overpayment plus applicablc interest and penalties as a result ol'

  thc inclusion of such Unallowablc Costs on previously submincd r€{ucsts ft}r payment. The

  I nited Statcs. including the l)epartmcnt ofJustice and,or lhe affectcd sgcncies. resen,es its

  rights to audit. eramine. or re-examine l)Ml's and Risis's h:oks and records and to disagree uith

  anr calculations submincd b1 t)Ml and Risis or an1 of its subsidiaries or atliliates reearding anr

  t lnallo* ahle Costs included in pa1 mcnts prcr iousll sought b1 Dll I and R isis. or the et'lect ol'

  an1 such [.nallosable Costs on the amount ofsuch palments.

          I   5.   This Agreement is intended to be for the benelit of the Parlics on 11 .
Case 2:23-cv-03429-ES-JRA Document 5-2 Filed 08/16/23 Page 28 of 42 PageID: 165




          I   6. t grn receipt of the pa! mcnl dcscribt'd in Par.rgraph l. abor e. Relatt'r antl thc
  t nitcd Strtcs shall promptll sign and tilc in thc( ir il .'\ction a Joint Stipulation ol'Disntirsal ot'
  all elainrs against l)\ll in the Cir il Action pursuant to Rule 1l(aX lX,\). Such disnris.al .'hall ht:

  (a) \\ith prr'iudicc to lhe Relaror as to all claims against all named det'endants in the ('ir il .\ctii'n:

  tbl * ith plciudice to the [.lnited States as to thc (ixcrcd Conduct: and (c) uithout prc'iudicc to

  thc I nitcd Statcs as to all other claims or allcgolions in thc Ciril Action.

             17. [--ach PanS shall bear its orrn lcral and olhcr cosls incurred in conncction rr ith
  this nrattcr. includinrr the preparalion and perlirrmancc ol'this Agreement.

             lll.   l:ach Panl and signator,.r to thi\ .\{rccment represenls that it lreell lnd

  rrrlunt:lril: rntcr: into this Agre!'menl $ith()ut an\ .lcqrcc.rl'duress orcompulsion.

             lq.     lhis ,\greemenr is gorerncd b1 thelurrsof the Lnited Shtes. Ihe erclusirc

  iLrrisdiction and rcnue for an1- dispute relating ro this n greemL.nt is the Linited States l)islriet

  ( oun lirr thc l)istrict ofNeu Jersel. lror purposr's ol'construine this Agreement. this ,\qrcemcnt

  shall r^L dccmcd to ha\e been drafted hy all Panics t() this Aqrecment and shall not. thcrclirrc. bc

  ctrnstrued against anr Panl lbr that rcason in anr suhscquent dispute.

          10.       l his Agreement constitutl's thc complctc agrccment betseen the Panics. I his

  .\urcrmcnl ma\ not h!'amended exccpt h) \\rittcn c()n\snt ol'thc Panies.

          I l.       Ihc undersigned counsel reprcscnt and sarrant thal the) are lulll authorizcd to

  c\ccutc this ,\sra!'ment on behalf of thc pcnons and entities indicaled b€lo\\        .




          ll.       1-his.Agreement mal be erecuted in counterparts. each ol'rrhich e()nsliturc\ iln

  oriuinal and all ol'rr hich constitute one and thc samc n grccmcnt.

          lj.        T   his .,\sreement is hinding on l)Ml's and Risis' succcssors. translcreL-s. hcir:. and

  lsriuns.

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        3rl.     lhis Agreement is binding on Relator's successors. transl'crccs. heirs. and assigns

        :5.     lll panies consent to thr' L nited States' disclosure of this ..\grt'ement. :rnrl
 information atxrur this AgrcL'mcnt. to the public.

        16.      l'his Agreemcnt is etl'ective on lhc datc ofsignature ofthe last signato0 t() thc

 Agrecmcnt t i:lll'ctir'e Date ol'this Agreement). lracsimilcs of signaturrs shall constitulc

 acceptablc. hinding signaturcs lbr purposes ol'this Agrcement.

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                                                                   David V. Simunovich
                                                                    Assistant Iinited Sutes Attomc\
                                                                    Counsel lbr thc United Statcs
                                                                    970 Broad Street. Suitc 7(X|
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                       ExHIBIT E
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                                                                                Ma、 26.2022



Via Email
Countl Coun. ('it1 and Counq'ofDenvcr
State oi Cok-rrado
Dcnvc'r Counll ('ogn
I {37 Bannock Street

[)enver. Colorado 80202



       R:::     Casc Nuinber:21C64227


[)ear I lonorahlc Coun.

        I    l)aniel Risis. represent mysr'lf ProSt' in thr.' above-mentioned matter. I lccl it is
nccessar\ ttr gire 1ou some background lhctual inlirrmation along u'ith various exhibits ahead of
tomorr()\\'s hcaring. It u'ould also be appreciated if the coun could email me the zoom link as the
only one I rccciled is via paper and the link is diflicult to click that wa1.


        Pleasc lcl me begin how this all ranspired and r.rhy this judgment should be orcnumcd

and my name removed from the case.



        I arn currentlv a victim of malicious traud perpetrated b1 the 1007o O,'r ner ol' Daniel
llarkus [nc. 1DI]..\ Pert'ecr Paun). Maryarita Risis as uell as ml cousin Dar id Bogomolnl. 1-his
casc st.rns liom a husiness ransaclion be[teen Maryarita Risis'Companl (Daniel Markus lnc.)

and ['aun []rokcr Funding DBA PB Financial. f'he reason lbr ml letter is to intbrm ]ou lhat m]
name was used in conjunction as a cosigner lbr a business loan which I did not recei\c ln) ot'lhc
lunds lbr. All the monel and subsequent atlomc) and dclbult fees is a rcsult ofthc ncgligcncc ol
m.r" mothcr as sell as the original lau llrm shich was hired to represent her Business.



        ln thc latc summer/early filll of 2021. as we prcpared for rrial on this case. Abrhams Law
scnt me an         (Exhibit A) demanding immc.diale paymenl leading up to the tdal. I not onl)'
            'jmail
\ras n()l r$urc ol'an active trial. ml. mothen health at the time prevented her from traveling to
Colorado and our companl is in New Jersel. During the same *eek. I had to talie a medical
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leave lbr menul exhaustion (llxhibit B letter fmm my Dr.). due to my mothers negligence and
lhe stress caused b! the law firm. Rather than being receptive ro m)- menral shte. m). morhcr
subsequentll' robbed all the assets l'rom her pau'n shops and fired me. She did rhis in conjuncrion
with m1 cousin David Bogomolnl. (Exhibis C-E is proof I was nor. and nerer have been. the
owner of Daniel Markus and should not be held liable for any claims)



       There is currentl] a criminal investigation underu'a1 into this maner. and I have all rideo.
photo and email cvidence ol'this. lt is very importanl that someone in thc Colorado Coun
S1'stem recognizes m\ name is lraudulently used since this loan r,r'as done in anticipation ofthe

abilitl' to hquidate assets on behalf of the business but rather then doing this. m.v- molher opted to
simpll' rob her oun assets and abscond *'ith the goods while closing ll Paun Shops. Although
\re were the recipient of a PPP Loan. the Covid-19 economic factors. along with lack oi legal
representation and in conjunction with ml mothers actions ha\e led to a million dollar.iudgment
against me personallf in a matter u'here I got no monev nor do I have the abilil lo eren del'end
ml'sell'personally since I uas urongfullv tcrminated from the compan) so I can be'the "fall gu1"
tbr this business debt.




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                         UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF NEW JERSEY


   In Re:                                            Case No.:          23‐ 11800

                                                     Chapter:           7
   DANIEL M.RISIS,
                                                     Judge:             John K.Shenvood

                            Debtor.




             DECIS10N AND ORDER RE MOT10N BY MRoRISIS
                   TO INVESTIG ATE CRIMINAL ACTS

        The relief set forth on the following page is hereby ORIIERED




   DATED: Xey 5,2filil

                                               H onora ble,ohn Ko Sherwood
                                            United States Bankruptcy Court
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 Debtor:              【)aniel M.R:sis
 Clase No.:           23‑118(X)
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                      TO INVESTICATE CRIMINAL ACTS


 WHEREAS:
     A. Daniel M.RIsis,the′ ′οsa dcbtorin this Chapter 7 casc,1led a Motion to investigatc
        cnminal acts against him.[ECF No.1481.

     B. Attached to the Motion is a lefter from Mr. Risis which sets forth "l5 crimes" against
           Mr. Risis and it appears that Mr. Risis wants the Court to order a thorough investigation
           olthese alleged crimes.

     C. The Court has advised Mr. Risis that he may r€port crimes against him to the appropriate
           State and Federal authorities and it appears that he has done so to some extent. Pursuant
           to 28 U.S.C. $ 586(aX3XF), the United States Trustee for this District has the obligation
           to notifu the ljnited States attomey of crimes under the laws of the United States. [t is
           unclear whether this provision relates to an1'crimes or only "bankruptcl crimes." l8
           (-r.S.C. $ 3057 requires trustees and bankruptcy judges having reasonable grounds lbr
           believing that the laws of the United States have been violated to repon all the tacts and
           circumstances of the case to the appropriate lJnited States attomey. The report must
           include the names of witnesses and the offenses believed to have been committed.
           lJltimately. it appears that the United States attomey makes the decision to investigate or
           prosecute. See l8 U.S.C. $ 3057(b). Also, it does not appear that a bankruptcy court can
           order a state attomey to investigate violations of state law. See In re Parr,4 B.R. 646,
           648 (Bankr. E.D.N.Y. 1980). Though it is not clear whether a bankruptcy court, trustee or
           the Office ofthe United States trustee has an obligation to report any pre-petition federal
           crime to the United States attomey (as opposed to just "bankruptcy crimes"), the molion
           by Mr. Risis does not contain nearly enough information for any ofthese parties to make
           a reasonable decision on whether a criminal violation has occurred. To the exlenl
           Mr. Risis wants to launch a criminal investigation throug} the Court. the Chapter 7
           trustee or the Office of the United States Trustee. more information and details nced to be
           provided.

      D. The Court has also advised Mr. Risis that many of the crimes described by Mr. Risis can
         also be addressed by civil claims against the perpetrators. These claims are property of
           Mr. Risis's bankruptcy estate which, at this time, should be investigated and prosecuted
           by thc Chapter 7 trustee. Mr. Risis has been directed to provide all information regarding
           potential civil claims against third parties to the Chapter 7 trustee. To the extent these
           claims are not brought by the Chapter 7 trustee on behalf of the estate, they can be
           abandoned by the Chapter 7 trustee purswmt to $ 554 ofthe Bankruptcy Code and then
           Mr. Risis will have the right to pursue them on his own behalf.
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 Debtor:               Daniel M.Risis
 Case No.:             23‐ l18(X)
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                       TO INVESTICATE CRIMINAL ACTS



     E. The Court notes that Mr. Risis has stated that he has no intention of working rvith the
           Chapter 7 trustee or his counsel and that he intends to either seek dismissal of this case or
           conversion to Chapter I l. The Court notes that a Molion to dismiss this case was filed bv
           Mr. Risis yesterday and it will be considered when it is scheduled for a hearing. At this
           time. this is a Chapter 7 case, and the Cout must address this Motion in thal conlext.
           Also, the investigalion and pursuit of civil claims (and defenses to claims) may result in
           substantial professional fees which will be charged to Mr. Risis's bankruptcy estate.
           Thus. Mr. Risis and the Chapter 7 tnrstee must conduct a cost-benefit analysis with
           respect to each claim and defense.


     F. As to the specific crimes that Mr. Risis has described, the Court will address each below

           (1) Adam Kessler (Kessler & Kessler) - This appears to be a claim for fraud and
                 legal malpractice, a civil claim which should be investigated by the Chapler 7
                 trustee.

           (2) Meisel l'utor & Lewis - This is civil claim for tax and accounting fraud
                 which should be invesigated by the Chapter 7 tnrstee.

           (3) Oleq Neivestnv - The description of this claim is too vague so the Court
                 cannot coinlnent


           (4)   Marqarita fusis - Based on the descri ption by Mr. Risis, this seems to be a
                 substantial civil claim. It is unclear whether this claim belongs to Mr. Risis or
                 Daniel Markus Inc. It also appears that this situation gave rise to the PB
                 Financing judgment against Mr. Risis personally. The details conceming a
                 civil claim against Margarita Risis and the origin of the PB Financing claim
                 should be investigated by the Chapter 7 trustee. Mr. Risis also says that there
                 is an ongoing criminal investigation conceming Margarita fusis.


           (5)   I'awllc llelou - No details were provided so the court cannot comment.

           (6)   Brvan l,usti ,一 It appears that Mr. fusis has been sued by Mr. Lustig, his
                 wif'e and her brother based on a YouTube video. The status of the litigation is
                 not set lbrth, but the litigation is stayed at this point due to the bankruptcy
                 filing.'l'he plaintiffs in the lawsuit may consider themselves creditors of
                 Vr. Risis and to extent they lile claims, they should be evaluated. There is
                 not enough detail to determine whether Mr. fusis has claims against the
                 plaintiffs, but he suggests that false affidavits were filed, and the litigation
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 Debtor;                Daniel M̲Risis
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                        TOIINVEST:GATE CRIM:NAL ACTS


                 was frivolous. If Mr. Risis thinks he has a claim against the plainliffs. he
                 should provide more detail.

           (7) Matthew Leff- Mr. Leff and Mr. Risis were paltners in real estate ventures
                 which led to acrimonious litigation in State Court which has been pending for
                 some time. Mr. Leffconsiders himself a creditor of Mr. Risis and Mr. Risis
                 asserts claims against Mr. [,etI based on, among other things. Mr. Leffs
                 alleged violation of Operating Agreements. '[he Chapter 7 trustee has a duty
                 to protect Mr. Risis's equity interests in these real estate ventures and
                 investigate *'hether the estate has any claims against Mr. I-eff based on the
                 Operating Agrcements. As tbr litigation strategy versus Mr. Leff. the Court
                 cannot comment. For now. this maner is in the hands of the Chapter 7
                 trustee.

           (8) Irene Manukaian - This appears to be a claim for thefi and fraud bl an
                 employee who sold inventory and kept the proceeds for herself.'fhis matter
                 can be pursued both as a criminal matter and through civil litigation. More
                 detail is needed to evaluate the merits of the claims.

           (9}   Fred Diabes Mr. Risis describes Mr. Diabes as the 90% owner of Mariners
                 []ank who was indicted and then surrendered his banking license. At some
                 point. Mr. Risis tried to refinance his debt and contacted Mr. Diabes for
                 assistance. Mr. Risis states that Mr. Diabes offered to loan up to $10 million.
                 Mr. McManus was introduced by Mr. Diabes for the purposes of a $l million
                 loan to prevent foreclosure of the Yenta property. Mr. Risis alleges (i) that
                 the mortgage holder (Mr. Solakian) and his attomey refused to cooperale b1
                 providing a pa1'ofT lener to lacilitate the refinancing. (ii) that Yenta's
                 adorney was working against Yenta and in iavor of Mr. Solikan and (iii) Mr.
                 Diabes and Mr. McManus were not able to mr*e loans because of their legal
                 troubles and walked away from their refinancing commitments. 'Ihe Court
                 notes that Yenta filed its own bankruptcy case in Trenton. NJ. [n that case.
                 Vr. Solakian was granted stay relief to proceed with the foreclosure of the
                 Yenta property and the Chapter I I case has becn dismissed. The issues raised
                 concerning Mr. Diabes /I\4r. McManus (the proposed refinance lenders),
                 Yenta's attorney. and Mr. Solakian could have been raised in l]re Yenta case.
                 Mr. Risis believes that the lailure to raise the issues in the Yenta bankruptcl
                 \\as the lault of Yenta's counsel. To the extent that Mr. Risis believes that he
                 has civil claims against any of the people described above. he should share
                 the factual and legal basis for the claims with the Chapter 7 trustee. As sel
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                      TO INVESTlCATE CRIMINAL ACTS


               forth above, if the Chapter 7 trustee decides not to bring the claims, he can
               bring them himself.

           (10) Mariners Bank - Mr. Risis states that 90% of this Bank was owned by
               Mr. Diabes who was allegedly indicted (see above). He also alleges Mariners
               Bank "fraudulently forfeited and defaulted" loans to 2 entities owned b)
               Mr. Risis - Marker Street Holdings and Dalex Development. Then. Mariners
               Bank sold both loans to third parties at steep discounts to get away from
               Mr. Risis who was accusing Mariners Bank of criminal activitv. Since
               Mr. Risis states that Mr. Diabes has already been indicted. it is not clear
               whether he is seeking additional criminal investigations. On the civil side. to
               the extent thal Mr. Risis believes there is a legal basis to assert a claim
               against a bank tbr selling a loan to a third party he should share his legal
               theory with the Chapter 7 trustee. Also, if Mr. Risis is suggesting that
               Mariners Bank fraudulently declared default against Market Street Holdings
               or Dalex Development. that defense could have been raised in the State Court
               foreclosure proceedings.

           (11) Jim Solakian - Mr. Solakian is discussed somewhat in the Fred Diabes
                section abovel he was the mortgage holder in the Yenta matter. Mr. Risis
                describes Mr. Solakian as a predatory lender who forced Mr. Risis to hire his
                son. Mr. Solakian is also accused of breaching an agreement to provide
                financing for Mr. Risis's Dalex project. The Court notes that civil claims
                against Mr. Solakian may belong to Dalex and/or Yenta. To the extent that
                Mr. Risis believes he has claims against Mr. Solakian he should provide the
                legal and factual basis to the Chapter 7 trustee.

           (12) Nicholas Biase - This individual is the Chapter 7 trustee's son who had a
               relationship with Stack & Stack, the Chapter 7 trustee's real estate broker.
               l'he Court has already considered the relationship between Nicholas Biase
               and Stack & Stack and accepts the Chapter 7 trustee's statement thal his son
               is fully employed elsewhere and is receiving no compensation from Stack &
               Stack for this case or any other pending matters. [ECF No. 98, r$ 5-61. The
               Court was concemed that Nicholas Biase is still mentioned on the Stack &
               Stack website but did not see this as a reason to disqualifo Stack & Stack.
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                           TOIINVESTICATE CRIMINAL ACTS


           (13) L. Lin Wood - No specific allegations are made conceming this person. bur
                    Mr. Risis suggests that he has information conceming "who was behind the
                    scenes and orchestmted the capital riots." The Court does not see how this is
                    relevant to this bankruptcy case and suggests that this information should be
                    shared with the appropriate Federal authorities.

           (14) Donald Biase - Mr. Biase is the Chapter 7 trustee in this case. He has a
                    fiduciary duty to preserve and liquidate assets of the estate for the benefit of
                    creditors. His administration of the estate is subject to oversight ofthe
                    Bankruptcy Court and many of his business decisions are subject to Court
                    approval. Mr. Risis has the right to oppos€ actions of the Chapter 7 trustee
                    where he believes they are not in the best interests of the estate.

           (15) fuchard Trenk - Mr. Trenk is an anomey with the law firm serving as
                counsel for the Chapter 7 trustee. His firm's retention was approved by the
                Court and his firm's fees and expenses are subject to Bankruptcy Court
                approval. Mr. Trenk's relationships with parties-in-interesl in t}ris case have
                been disclosed and the Court has not s€€n cause to disqualify Mr. Trenk's
                firm based on conflict of inlerest. The decisions and actions of the Chapter 7
                trustee's counsel will be addressed on a case-by-cas€ basis. For example.
                Mr. Risis has filed a motion fdr sanctions against Mr. Trenk and a motion
                which criticizes Mr. Trenk's conduct in the eviction of a tenant at the West
                Orange property. The Court will hear these motions and determine what
                    relief is appropriate.

 NOW THEREFORE,IT IS ORDERED:
             I   . The Motion is granted in part and denied in part as set forth above
           2. So long as this case remains in Chapter 7. Mr. Risis is directed to coop€rate with the
                   Chapter 7 trustee regarding civil claims that he has against third parties.

           3. To the extent thal Mr. Risis believes that the Court, the Chapter 7 trustee. or the
                   Office of the United States Trustee should refer a criminal maner to the United States
                   atlomey, he should provide such parties with all details conceming such alleged
                   crimes. including but not limited to, witnesses, documents, correspondence, a full
                   description of the crime and the federal statute that was violated.
